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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
HARRIS BEACH PLLC
ONE PARK PLACE, 4TH FLOOR
300 SOUTH STATE STREET
SYRACUSE, NEW YORK 13202
(315) 423-7100

and

HARRIS BEACH PLLC
100 WALL STREET
NEW YORK, NEW YORK 10005
(212) 687-0100
Attorneys for Caldwell Manufacturing Co


In Re:                                                       Case No.: 08-14631

SHAPES/ARCH HOLDINGS, L.L.C. et al.,                         Adv. No.:

                                                             Hearing Date: September ___, 2008

                                                             Judge: Gloria M. Burns

                ORDER ALLOWING ADMINISTRATIVE CLAIM AND GENERAL
                 UNSECURED CLAIM OF CALDWELL MANUFACTURING CO.

         The relief set forth on the following pages, numbered two (2) through three is
         hereby ORDERED.
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Shapes/Arch Holdings L.L.C., et al.
Case No. 08-14631 (GMB)
Order Allowing Administrative Claim and General Unsecured Claim of Caldwell Manufacturing Co.


          THIS MATTER having been come on to be heard on the Motion of Caldwell

Manufacturing Co. (“Caldwell”)1, by and through its counsel Harris Beach PLLC, upon Motion

for Leave to File Late Proof of Claim (the “Motion”), and good and sufficient notice of the

hearing having been provided, and the Court having considered the moving papers, and

Caldwell, the Debtors and Class 10 Liquidating Trustee each by their counsel having agreed to

settle the Motion, and the Court having determined that good cause exists for the entry of this

Order,

          IT IS ORDERED, that the Motion is GRANTED; and

          IT IS FURTHER ORDERED, that the claim filed by Caldwell is hereby allowed a

timely filed Administrative Expense Claim under 11 U.S.C. §503(b)(9) in the amount of

$15,000.00 (the “Administrative Expense Claim”), and a timely filed General Unsecured Claim

in the amount of $6,160.31 (the “Unsecured Claim”), in the jointly administered cases; and

          IT IS FURTHER ORDERED, that the foregoing administrative claim and unsecured

claim shall be deemed to have been filed in the bankruptcy cases of Accu-Weld, LLC without

the need for separate or further filings therein by Caldwell; and

          IT IS FURTHER ORDERED, that the Debtor shall pay the Administrative Expense

Claim to Movant within 30 days of entry of this Order on this Court’s docket; and

          IT IS FURTHER ORDERED, that the General Unsecured Claim shall be paid in

accordance with the terms of the confirmed Plan of Reorganization;




1
    Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to them in the Motion.
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         IT IS FURTHER ORDERED, that the Movant shall serve a copy of this Order on the

Debtors, the Class 10 Liquidating Trustee, any trustee and any other party who entered an

appearance in this Motion.
